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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

v. INDICTMENT

AUSTIN SUMAN,
24cr 400.

Defendant.

COUNT ONE
(Threatening Interstate Communications)

The Grand Jury charges:

1. On or about November 8, 2024, in the Southern District of New York and
elsewhere, AUSTIN SUMAN, the defendant, knowingly and intentionally transmitted in interstate
and foreign commerce a communication containing a threat to injure the person of another, to wit,
SUMAN sent several Facebook messages and emails to a news reporter (“Victim-1”) in which he
threatened to injure or kill Victim-1 and her family.

(Title 18, United States Code, Section 875(c))

COUNT TWO
(Willfully Making a Threat Involving an Explosive)
The Grand Jury further charges:
2. On or about November 8, 2024, in the Southern District of New York and

elsewhere, AUSTIN SUMAN, the defendant, through the use of the telephone or other instrument
of interstate or foreign commerce, or in or affecting interstate or foreign commerce, willfully made
a threat to kill, injure, or intimidate an individual or unlawfully to damage or destroy a building,
vehicle, or other real or personal property by means of fire or an explosive, to wit, SUMAN sent a
Facebook message over the Internet in which he threatened to blow up Victim-1’s residence.

(Title 18, United States Code, Section 844(e))

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COUNT THREE
(Interstate Stalking)

The Grand Jury further charges:

3. On or about November 8, 2024, in the Southern District of New York and
elsewhere, AUSTIN SUMAN, the defendant, with the intent to kill, injure, harass, intimidate, and
place under surveillance with intent to kill, injure, harass, and intimidate another person, used the
mail, any interactive computer service and electronic communication service and electronic
communication system of interstate commerce, and any other facility of interstate and foreign
commerce to engage in a course of conduct that placed that person in reasonable fear of the death
of and serious bodily injury to that person and caused, attempted to cause, and would be reasonably
expected to cause substantial emotional distress to that person, to wit, SUMAN sent several
Facebook messages and emails over the Internet to Victim-1, using various hate-based remarks
about race, ethnicity, national origin, and gender, in which he threatened to injure or kill Victim-1
and her family, which placed Victim-1 in reasonable fear of death and serious bodily injury, and
which caused, and would be reasonably expected to cause, substantial emotional distress.

(Title 18, United States Code, Section 2261A(2))

FOREPERS i
Acting United States Attorney

